        Case 5:19-cr-40091-DDC Document 28-3 Filed 08/12/20 Page 1 of 2


                                                                                                  506
                                                                                          19-cr-40091-DDC-01


The Honorable Daniel D. Crabtree                                            April 15, 2020
District Court Judge
District of Kansas


The Honorable Daniel D. Crabtree,

My name is Christopher L. Smith. I am the father of Jarrett William Smith. I am writing this
letter to ask for mercy and leniency in sentencing for my son.

Jarrett overcame many adversities in his early life to be able to begin his military career. He was
born with a cleft lip and palate and had multiple surgeries on his mouth before he was even a
year old. The surgeries continued until his adolescence and a Jarrett was often a target of cruel
children because of his mouth and jaw shape. In addition to the facial issues, he had bright red
hair which served to intensify the bullying and harassment he received.

Jarrett was targeted by an attempted school shooter who placed Jarrett on a personal "hit list"
even though the detectives in the case could find no evidence Jarrett had mistreated the
shooter. The shooter wrote on the hit list next to Jarrett's name "People would thank me for
killing him". Jarrett found out about this for the first time in open court when the "hit list" was
entered into evidence in the subsequent trial. These incidents as well as a number of
unprovoked attacks on Jarrett (several recorded on school video) deeply wounded him both
mentally and emotionally. Despite the bullying, harassment, and threats sent his way, Jarrett
never sought to mistreat or abuse other kids as he was mistreated, defending himself only
when he had no other recourse. He had a difficult time making friends among his peers and his
social skills were awkward and unpolished. He only wanted to be accepted or, at the very least,
be left alone. He received neither.

Despite these obstacles, Jarrett worked hard during his senior year and after graduation,
sometimes holding multiple jobs. He had been a member of the Civil Air Patrol and had done
well in his time there, even winning an award and receiving an “Outstanding Flight Summer
Encampment 2009” medal. We had often talked about the possibility of a military career,
possibly in aviation (he was flying planes with an Air Force instructor when he was only
thirteen). We were so very proud when he chose to join the Army and serve his country and
more so when we saw him graduate from basic training. Jarrett comes from a family of military
service and he wanted to honor them and follow in their footsteps.

Your Honor, I ask you to show mercy and compassion on my son. His desire for acceptance
played a major part in the decisions and choices he made. Allow him to return home and begin
to rebuild his life to become a productive member of society. He had a completely clean record
before this matter began and no history of violence towards anyone. Jarrett has a family ready,
willing, and able to give him the support and structure he needs. Not just his father and mother
but also his grandparents, aunts, and uncles are all vitally concerned for him and stand ready to
        Case 5:19-cr-40091-DDC Document 28-3 Filed 08/12/20 Page 2 of 2




help any way needed. Jarrett has a pastor that will provide weekly counseling as well as
employment at our church. I can promise you personally that I myself will be supervising him
with the utmost scrutiny. I give you my word of honor that there will be no more incidents of
this sort. We will be monitoring who he is contact with on all forms of media and making sure
they are not bad influences or members of nefarious organizations or groups. Jarrett has much
to do here in his hometown. I ask you for his release so that the young man can begin to rebuild
his life with those who love and support him.

Sincerely,




Christopher L. Smith
